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 9     Attorneys for Defendants CLOUD IMPERIUM GAMES CORP.
10     and ROBERTS SPACE INDUSTRIES CORP.
11                           UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13     CRYTEK GMBH,                         )        Case No. 2:17-CV-08937
                                            )
14                                          )
                 Plaintiff,                 )        [HON. DOLLY M. GEE]
15     vs.                                  )
                                            )        DEFENDANTS’ NOTICE OF
16                                          )
       CLOUD IMPERIUM GAMES CORP. and )              MOTION AND MOTION FOR A
17     ROBERTS SPACE INDUSTRIES CORP., )             BOND PURSUANT TO CAL. CIV.
                                            )        P. CODE § 1030
18                                          )
                 Defendants.                )
19                                          )        Date: April 26, 2019
                                            )        Time: 9:30 AM
20                                          )
                                            )        Courtroom: 8C
21                                          )
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                             DEFENDANTS’ NOTICE OF MOTION AND
                   MOTION FOR A BOND PURSUANT TO CAL. CIV. P. CODE § 1030
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 1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           NOTICE IS HEREBY GIVEN that, pursuant to California Code of Civil
 3     Procedure § 1030, on April 26, 2019 at 9:30 a.m., or as soon thereafter as the matter may
 4     be heard, in Courtroom 8C by the Honorable Dolly M. Gee of the United States District
 5     Court for the Central District of California, located at 350 West 1st Street, Los Angeles,
 6     California 90012, Defendants Cloud Imperium Games Corp. (“CIG”) and Roberts Space
 7     Industries Corp. (“RSI”) (together, “Defendants”) will, and hereby do, move for an order
 8     requiring Plaintiff Crytek GmbH (“Crytek”) to post a bond in the amount of
 9     $2,193,298.45 to secure the award of attorneys’ fees and costs that Defendants will be
10     entitled to receive as the prevailing party in this action.
11           This motion is brought pursuant to California Code of Civil Procedure § 1030 and
12     this Court’s inherent power to require foreign plaintiffs to post a security bond for costs
13     where there is a reasonable possibility that the defendants will obtain a judgment in the
14     action. See Simulnet E. Assocs. v. Ramada Hotel Operating Co., 37 F.3d 573, 574 (9th
15     Cir. 1994). Here, Crytek is a foreign (German) corporation, CIG is contractually and
16     statutorily entitled to its attorneys’ fees, costs, and expenses as the prevailing party in this
17     action, and CIG has far greater than a “reasonable possibility” of obtaining a judgment
18     against Crytek for such an award. An adequate bond is especially warranted in this case,
19     given the myriad reported financial problems that have plagued Crytek in recent years,
20     and the alarming risk that Crytek will be unable to satisfy the judgment awarded to
21     Defendants.
22           This motion is based upon: this Notice of Motion and Motion; the Memorandum
23     of Points and Authorities filed herewith; the Declarations of Jeremy S. Goldman, Ortwin
24     Freyermuth, and Jay Grenier filed herewith, and the exhibits annexed thereto; the
25     pleadings and papers on file herein; and upon such other matters as may be presented to
26     the Court at the time of hearing.
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                             DEFENDANTS’ NOTICE OF MOTION AND
                  MOTION FOR A BOND PURSUANT TO CAL. CIV. P. CODE § 1030
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     Case 2:17-cv-08937-DMG-FFM Document 57 Filed 03/29/19 Page 3 of 3 Page ID #:682



 1           This motion is made following the conference of counsel pursuant to Local Rule 7-
 2     3, which took place on December 19, 2018 and January 16, 2019. As detailed in the
 3     accompanying Declaration of Jeremy S. Goldman, counsel for the parties discussed
 4     Defendants’ intention to move for a bond pursuant to Cal. Civ. P. Code. § 1030 unless
 5     Crytek agreed to post a substantial bond. Crytek’s counsel stated that Crytek would not
 6     voluntarily post a bond.
 7

 8     Dated: March 29, 2019                 Respectfully submitted,
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                                             FRANKFURT KURNIT KLEIN & SELZ, P.C.
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11
                                             BY: /s/ Jeremy S. Goldman
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19                                           Attorneys for Defendants CLOUD IMPERIUM
                                             GAMES CORP. and ROBERT SPACE
20                                           INDUSTRIES CORP.
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                             DEFENDANTS’ NOTICE OF MOTION AND
                  MOTION FOR A BOND PURSUANT TO CAL. CIV. P. CODE § 1030
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